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                   Thomas-Jensen
                    Affirmation



                     Exhibit # 112
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK; et al.,

                 Plaintiffs,
                                                           C.A. No. 1:25-cv-00039-JJM-PAS
         v.
                                                           DECLARATION OF SARAH
  DONALD TRUMP, in his official capacity as                NORRIS HALL
  President of the United States; et al.,

                 Defendants.


                                 Declaration of Sarah Norris Hall
        I, Sarah Norris Hall, declare as follows:

        1.      I am a resident of the State of Washington. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the University of Washington as Senior Vice President,

 Finance, Planning & Budgeting and Chief Financial Officer. In my role, I am responsible for the

 financial management, planning and budgeting activities of the University, including oversight of
 post award administration and federal cash management.

        3.      The University of Washington is the flagship university of the state of Washington.

 Since its founding in 1861, it has been a hub for learning, innovation, problem solving, economic

 development and community building. Driven by a mission to serve the greater good, our students,

 faculty and staff tackle today’s most pressing challenges with courage and creativity, making a

 difference across Washington state—and around the world. As part of its mission, the UW engages

 in research and direct service, which frequently rely in whole or in part on federal financial

 assistance.


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        4.       The UW receives more federal research dollars than any other U.S. public

 university. The university, as of February 3, 2025, had 3,567 active federal direct and passthrough

 awards, of which more than 1,700 awards had outstanding accounts receivable with federal

 agencies. Additionally, the University of Washington receives nearly $300 million from the

 Department of Education in the form of Federal Direct Student Loans, more than $53 million under

 the Federal Pell Grant Program, and more than $10 million under the Federal Perkins Loan

 Program. Altogether, the University of Washington received more than $1.6 billion in federal

 funding in 2024, comprising more than 13% of its entire budget. The University of Washington’s
 economic impact from all forms of sponsored research activities exceeds $2.6 billion, supporting

 and sustaining 10,641 statewide jobs and generating more than $93 million in Washington state

 and local tax revenue.

        5.       These funds cover everything from climate research and small-cell battery

 development to HIV/AIDS healthcare delivery in the developing world facilitated by thousands of

 world class faculty and staff across more than 270 research centers, institutes and collaboratives.

 These grants come from numerous federal agencies, including the Department of Health and

 Human Services, the National Science Foundation, the Department of Energy, the Department of

 Education, the Department of Defense, the Department of Commerce, the Department of

 Transportation, the Department of Agriculture, NASA, the National Endowment for the Arts,

 Department of Interior, Department of Homeland Security, and Department of Veterans Affairs,

 among others.

        6.       The University of Washington’s budget for this year relies on federal agencies

 continuing to reimburse the University for allowable expenditures incurred in carrying out the

 scope of awarded federal grants and contracts. The University has made extensive plans and

 allocated funding for staffing, operations, and research infrastructure based on the anticipated

 receipt of Federal funding as awarded to the University by dozens of federal agencies across 3,567

 active federal direct and passthrough grants.

        7.       Any pause in federal funding to the University would cause institution-wide chaos.

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 Even a temporary pause in funding could require the University to shutter or reduce programs,

 including mission-critical research activities, instruction, and public service activities and to

 furlough and/or lay off employees. It would shut off funding for graduate students and post-docs

 and imperil visas for foreign students, potentially forcing them out of their programs. And it would

 reduce or halt services to people served by the University’s programs. To take just one example,

 the University supports health clinics in multiple countries under the President’s Emergency Plan

 for AIDS Relief; halting funding would mean canceling appointments and interrupting healthcare

 delivery for patients.
        8.      On a University-wide scale, a freeze on the University’s ability to receive

 contractually agreed-to reimbursement for expenditures fronted by the University or payment

 services rendered or to be rendered (including cost-reimbursable grants, progress payments,

 federal financial aid, directed payment programs, etc.) will threaten institutional liquidity.

        9.      Similarly, stop-work orders placed on existing federal awards will require

 immediate action by the University to reduce FTEs funded by projects receiving stop-work orders,

 and the incurrence of unfunded wind-down costs associated with unplanned shuttering of complex

 activities. Second- and third-order abrupt impacts are likely to spread to areas outside of the

 directly impacted activity, such as impacting recharge centers stood up to provide services

 specifically in support of federally funded research. Inability to plan for immediate cessation of

 indirect cost recovery generated by federal awards may require broader institutional reductions

 within the academy.

        10.     To date, the University has received more than 20 stop-work orders from federal

 agencies, and a handful where the University is a subrecipient and the prime recipient (non-federal

 agency) directed UW to stop work. These stop-work orders have injected considerable chaos into

 University operations and have required emergency contingency planning, although we

 understand that these orders are not currently effective, largely due to the Temporary Restraining

 Order issued by this Court.

        11.     As of February 3, 2025, the University is expecting payment for eligible

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 expenditures incurred by the University through performance of eligible activities in support of

 federal awards totaling $87,429,436.73, including $5,082,147.48 in draw requests on federal

 letters of credit, as shown below:


                                                     Letter of Credit
                                                          Draw            Invoiced         Grand Total
 Federal Receivables                                      5,082,147.48    82,347,289.25     87,429,436.73
   Federal Direct Award Receivables                       5,082,147.48    29,515,494.32     34,597,641.80
     Department of Agriculture                                               842,038.69        842,038.69
     Department of Commerce                                                   50,693.49         50,693.49
     Department of Defense                                                21,039,269.98     21,039,269.98
     Department of Education                             1,130,441.96         10,410.87      1,140,852.83
     Department of Energy                                           -        263,740.53        263,740.53
     Department of Health and Human Services               640,701.17      5,885,039.13      6,525,740.30
     Department of Homeland Security                                           4,060.67          4,060.67
     Department of the Interior                                               60,246.55         60,246.55
     Department of Transportation                                            226,232.46        226,232.46
     Department of Veterans Affairs                                          678,128.84        678,128.84
     Federal Trade Commission                                                 11,271.10         11,271.10
     General Services Administration                                           1,946.17          1,946.17
     Institute of Museum and Library Services                                 71,134.53         71,134.53
     National Aeronautics and Space Administration                           367,412.56        367,412.56
     National Endowment for the Arts                                           3,868.75          3,868.75
     National Science Foundation                         3,311,004.35                        3,311,004.35
   Federal Pass-Through Award Receivables                                 52,831,794.93     52,831,794.93
     Agency for International Development                                     56,002.37         56,002.37
     AmeriCorps                                                               29,393.49         29,393.49
     Department of Agriculture                                               125,928.47        125,928.47
     Department of Commerce                                                  760,017.30        760,017.30
     Department of Defense                                                 4,628,074.59      4,628,074.59
     Department of Education                                                 707,323.26        707,323.26
     Department of Energy                                                  2,036,542.23      2,036,542.23
     Department of Health and Human Services                              34,949,660.55     34,949,660.55
     Department of Homeland Security                                         260,315.58        260,315.58
     Department of Justice                                                    38,411.86         38,411.86
     Department of State                                                      16,669.56         16,669.56
     Department of the Interior                                              428,721.65        428,721.65
     Department of the Treasury                                              252,080.07        252,080.07
     Department of Transportation                                            471,187.51        471,187.51
     National Aeronautics and Space Administration                           763,918.96        763,918.96
     National Science Foundation                                           6,373,604.47      6,373,604.47
     United States Environmental Protection Agency                           933,943.01        933,943.01



          12.     If we do not experience timely and full receipt of these outstanding receivables and

 timely and full receipt of reimbursement for future allowable expenditures under the conditions of

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 our awards, it will result in the immediate cessation of mid-stream research activities, furloughing

 of staff, wind-down costs not typically borne by the University, and reputational risk.

        13.     Prior to January 31, when we understand this Court entered a Temporary

 Restraining Order, we had draw requests that were denied or held for longer than what has been

 typical of our experience. These include, for example, a draw request from the National Science

 Foundation of $2,866,758 submitted on January 22 and subsequently denied, and draw requests

 from the Department of Health and Human Services on January 24, 29, and 30, totaling

 $3,046,523.27, which were delayed. Following the entry of the TRO, however, the Department of
 Health and Human Services draw requests were approved on February 3, and funds were received

 on February 4. The University was required to resubmit a draw request to the National Science

 Foundation, unsuccessfully on February 3, and subsequently successfully on February 4.

        14.     If the federal funding is again paused, blocked, denied or delayed, that will be

 devastating to the University of Washington, as detailed above.

       I declare under penalty of perjury of the laws of the United States that the foregoing is true

 and correct.

                Executed this 5th day of February 2025, in Seattle, Washington.



                                                      SARAH NORRIS HALL
                                                      Vice President of Finance, Planning &
                                                      Budgeting and Chief Financial Officer
                                                      University of Washington




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